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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION
 In re:                                           §
                                                  §             Chapter 7
 ALEXANDER E. JONES,                              §
                                                  §             Case No. 22-33553 (CML)
                   Debtor.                        §
                                                  §

   STIPULATED CONFIDENTIALITY AGREEMENT AND PROTECTIVE ORDER

       This Stipulated Confidentiality Agreement and Protective Order (the “Protective Order”)

is entered into by and among: (i) Christopher R. Murray (the “Trustee”), the duly appointed

chapter 7 trustee for the bankruptcy estate of Alexander E. Jones; (ii) Alexander E. Jones

(“Jones”); (iii) Free Speech Systems, LLC (“FSS”); (iv) Neil Heslin, Scarlett Lewis, Leonard

Pozner, Veronique De La Rosa and Marcel Fontaine (the “Texas Plaintiffs”) and David Wheeler,

Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer

Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino, William Aldenberg,

William Sherlach and Robert Parker (the “Connecticut Plaintiffs” and, together with the Texas

Plaintiffs, the “Sandy Hook Families”); and (v) any other parties in interest in the bankruptcy case

of Alexander E. Jones (the “Jones Case”), the bankruptcy case of FSS (the “FSS Case” and

together with the Jones Case, the “Bankruptcy Cases”) or parties to any adversary proceeding

relating to the Bankruptcy Cases and become bound by this Protective Order by signifying their

assent through execution of Exhibit A hereto (a “Declaration”). Each of the persons or entities

identified in the foregoing clauses (i) through (v) shall be referred to herein individually as a

“Party” and, collectively, as the “Parties”.

       The Parties, by and through their respective attorneys of record and subject to Court

approval, have agreed to entry of this Protective Order pursuant to 11 U.S.C. § 107(b) and Rule



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9018 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and, with respect

to any existing or future contested matter or adversary proceeding, pursuant to Bankruptcy Rules

7026 and 9014 and Rule 26(c) of the Federal Rules of Civil Procedure (the “Federal Rules”).

                                          RECITALS

        WHEREAS, FSS commenced the FSS Case under subchapter V of chapter 11 of title 11

of the United States Code, U.S.C. §§ 101-1532 (the “Bankruptcy Code”) in this Court on July 29,

2022;

        WHEREAS, Jones commenced the Jones Case under chapter 11 the Bankruptcy Code in

this Court on December 2, 2022;

        WHEREAS, on February 11, 2023, the certain parties in the Bankruptcy Cases filed a

Stipulated Confidentiality Agreement and Protective Order [Jones Case, Docket No. 150], which

was entered by the Court on February 14, 2023 [Jones Case, Docket No. 159];

        WHEREAS, on June 14, 2024, the Jones Case was converted to a case under chapter 7 of

the Bankruptcy Code, and the FSS Case was dismissed by order of the Court;

        WHEREAS, the Bankruptcy Cases were closely connected because, inter alia, Jones’

bankruptcy estate owns 100% of the membership interests in FSS, and the Bankruptcy Cases were

pending before the same Court; and the Parties therefore expect that documents and information

sought from Parties and Non-Parties (as defined below) will often be relevant to both such cases;

        WHEREAS, the Parties have sought or may seek certain Discovery Material (as defined

below) in or in connection with the Bankruptcy Cases (including adversary proceedings), including

through informal requests, Rule 2004 requests or motions, or service of document requests,

interrogatories, depositions, subpoenas, and other discovery requests (collectively, “Discovery

Requests”) as provided by the Federal Rules, the Bankruptcy Rules, and the Bankruptcy Local



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Rules of the United States Bankruptcy Court for the Southern District of Texas (the “Local

Rules”); and

       WHEREAS, the Parties anticipate that Discovery Requests will be propounded to persons

or entities other than the Parties (“Non-Parties”);

       NOW, THEREFORE, to facilitate and expedite the production, exchange, and treatment

of Discovery Material (as defined below), to facilitate the prompt resolution of disputes over

confidentiality, and to protect Discovery Material (as defined below) that a Party seeks to maintain

as confidential, IT IS HEREBY STIPULATED, AGREED, AND, UPON COURT APPROVAL

HEREOF, IT IS ORDERED that the following terms will govern any Discovery Requests and

handling of Discovery Material (as defined below) during the course of the Bankruptcy Cases or

any appeal therefrom:

       1.      The Parties shall submit this Protective Order to the Court for approval. The Parties

shall abide by the terms of this Protective Order even if this Protective Order is not entered by the

Court for any reason, unless the Court determines otherwise.

       2.      Unless otherwise agreed by the Parties or ordered by the Court, all deadlines stated

herein shall be computed pursuant to Bankruptcy Rule 9006.

                              SCOPE OF PROTECTIVE ORDER

       3.      This Protective Order applies to all information, documents, and things provided or

exchanged in response to Discovery Requests , either by a Party or a Non-Party in either case (each

a “Producing Party”), to any other Party (each a “Receiving Party”), including without limitation,

deposition testimony, interviews, interrogatories, answers to interrogatories, requests for

admission, responses to requests for admission, documents, electronically stored information, and

things produced (collectively, “Discovery Material”). For the avoidance of doubt, nothing in this



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Protective Order—including the fact that a party is a Party to this Protective Order—entitles or is

intended to entitle any Party or Non-Party to any specific Discovery Material.

       4.      Non-Parties are entitled to the protections afforded hereby and subject to the

obligations contained herein upon designating Discovery Material or signing a Declaration in the

form provided as Exhibit A hereto and agreeing to be bound by the terms of this Protective Order

(for receiving information).

       5.      Any Party or its counsel serving a Discovery Request upon a Non-Party shall

provide a copy of this Protective Order along with such Discovery Request and instruct the Non-

Party that it may designate documents or testimony according to the provisions herein. In the event

a Non-Party has already been served with a subpoena or other discovery request, formal or

informal, at the time this Protective Order is entered by the Court, the serving Party or its counsel

shall provide the service and notice of this Protective Order required by the preceding sentence as

soon as reasonably practicable after entry of this Protective Order.

                         DESIGNATING DISCOVERY MATERIAL

       6.      Any Producing Party may designate Discovery Material as “Confidential

Material” or “Professionals’ Eyes Only Material” (any such Discovery Material, “Designated

Material”) in accordance with the following provisions:

                 a. Confidential Material: A Producing Party may designate Discovery
                    Material as “Confidential” if such Producing Party believes in good faith (or
                    with respect to documents received from another person, has been reasonably
                    advised by such other person) that: (i) such Discovery Material (A) constitutes
                    or contains proprietary, commercially sensitive, or confidential technical,
                    business, financial, personal, or other information of a nature that can be
                    protected under Bankruptcy Rules 7026 and 9014 and Federal Rule 26(c) or
                    Bankruptcy Rule 9018, (B) constitutes or contains personally identifiable
                    information (“PII”), or (C) is subject by law or by contract to a legally
                    protected right of privacy; or (ii) a Producing Party (A) is under a preexisting
                    obligation to a third party to treat such Discovery Material as confidential or
                    (B) has in good faith been requested by another Party or Non-Party to so


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                    designate such Discovery Material on the grounds that such other Party or
                    Non-Party considers such Discovery Material to contain information that is
                    confidential or proprietary to such Party or Non-Party.

                b. Professionals’ Eyes Only Material: A Producing Party may designate
                   Discovery Material as “Professionals’ Eyes Only” if such Producing Party
                   believes in good faith (or with respect to documents received from another
                   person, has been reasonably advised by such other person) that such
                   Discovery Material constitutes or includes Professionals’ Eyes Only Material
                   that is of such a nature that a material risk of competitive or other injury would
                   be created if such Discovery Material were disclosed to persons other than
                   those identified in Paragraph 11 of this Protective Order, which may include
                   medical information relating to any individual, certain trade secrets, sensitive
                   personal, financial or business information, or material prepared by its
                   industry professionals, advisors, financial advisors, accounting advisors,
                   experts, and consultants (and their respective staff), and only to the extent that
                   the Producing Party believes in good faith that such Discovery Material is of
                   such a nature that Professionals’ Eyes Only Material treatment is warranted.

                c. Undesignated Material: Subject to the rights and obligations of the Parties
                   under Paragraphs 8, 9, and 22 of this Protective Order, no Party shall have
                   any obligation or duty to maintain as confidential or prevent from disclosure
                   any Discovery Material that is not Designated Material.

       7.     Manner of Designating Discovery Material: Where reasonably practicable, any

Designated Material shall be designated by the Producing Party as such by marking each such page

“Confidential” or “Professionals’ Eyes Only” as applicable. Such markings should not obliterate

or obscure the content of the material that is produced. Where marking every page of such

materials is not reasonably practicable, such as with certain native file documents, a Producing

Party may designate material as Designated Material by including such terms (or similar terms) in

the file name thereof and with corresponding metadata. Discovery Material produced in the

Bankruptcy Cases prior to the execution of this Protective Order pursuant to an agreement that

such Discovery Material would be treated as Designated Material, if any, shall be treated as

Designated Material pursuant to this Protective Order notwithstanding such Discovery Material

not bearing such markings, provided, however, that the Producing Party will provide a replacement

production that includes a “Confidential” or “Professionals’ Eyes Only” marking, or designation

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in the file name, as applicable, of any such productions as soon as reasonably practicable after

entry of this Protective Order. A Party that was not the Producing Party may request that the

Producing Party designate any Discovery Material as Designated Material and re-produce the

Material under paragraph 8 below.

       8.      Late Designation of Discovery Material: The failure to designate particular

Discovery Material as Designated Material at the time of production shall not operate to waive a

Producing Party’s right to later designate such Discovery Material as Designated Material or later

apply another designation pursuant to this Protective Order (“Misdesignated Material”). Upon

receipt of replacement copies of such Misdesignated Material with the proper designation, the

Receiving Party or Parties shall take all commercially reasonable steps to return or destroy all

previously produced copies of such Misdesignated Material. If requested by the Producing Party,

a Receiving Party shall verify in writing that it has taken all commercially reasonable steps to

return or destroy such Misdesignated Material. Notwithstanding the foregoing, no Party shall be

deemed to have violated this Protective Order if, prior to notification of any later designation, such

Discovery Material was disclosed or used in any manner consistent with its original designation

or non-designation but inconsistent with its later designation. Once such later designation has been

made, however, any Discovery Material shall be treated in accordance with that later designation;

provided, however, that if the material that was not designated has been, at the time of the later

designation, previously publicly filed with a court or otherwise made publicly available (other than

in violation of this Protective Order), no Party shall be bound by such later designation except to

the extent determined by the Court upon motion of the Party or Non-Party that failed to make the

designation.




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                     USE AND DISCLOSURE OF CONFIDENTIAL OR
                       PROFESSIONALS’ EYES ONLY MATERIAL

       9.      General Limitations on Use and Disclosure of All Discovery Material: All

Discovery Material shall be used by the Receiving Parties solely for the purposes of either of the

Bankruptcy Cases (including, for the avoidance of doubt, mediation, any adversary proceedings

arising in either of the Bankruptcy Cases or any litigation for which standing to pursue claims on

behalf of either of the Debtors has been sought or for which the Court has granted a party standing

to pursue claims on behalf of either of the Debtors, and any appeals therefrom), and not for any

other purpose, including any other litigation or judicial proceedings, or any business, competitive,

governmental, commercial, or administrative purpose or function.

       10.     Confidential Material: Confidential Material, and any and all information

contained therein, shall be given, shown, made available, or communicated only to the following:

                 a. the Trustee;

                 b. Jones;

                 c. FSS;

                 d. Kevin M. Epstein, the United States Trustee for the Southern District of Texas

                     (the “U.S. Trustee”), and other attorneys in office of U.S. Trustee assigned to

                     the Bankruptcy Cases;

                 e. the Sandy Hook Families;

                 f. any other Party who has signed a Declaration, in the form provided as

                     Exhibit A hereto; and

                 g. any other persons specified in paragraph 11 below.




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       11.     Professionals’ Eyes Only Material: Professionals’ Eyes Only Material, and any

and all information contained therein, shall be given, shown, made available, or communicated

only to the following:

                 a. outside counsel, staff working under the express direction of such counsel,
                    industry advisors, financial advisors, accounting advisors, testifying and non-
                    testifying experts, and consultants (and their respective staff) that are retained
                    by any person listed in Paragraph 10 above;

                 b. any person who is indicated on the face of a document to have been an author,
                    addressee or copy recipient thereof, an actual or intended recipient thereof, or
                    in the case of meeting minutes, an attendee of the meeting;

                 c. for purposes of witness preparation, and upon signing a Declaration, in the
                    form provided as Exhibit A hereto, any deponent or witness who was noticed
                    for a deposition, or is on a witness list for hearing or trial, in preparation for
                    his or her noticed deposition, hearing, or trial testimony where such
                    Discovery Material is determined by counsel in good faith to be necessary to
                    the anticipated subject matter of the questioning or testimony, provided,
                    however, that such Professionals’ Eyes Only Material can only be shared with
                    such person in connection with preparation for the anticipated testimony, and
                    the persons identified in this paragraph shall not be permitted to retain copies
                    of such Professionals’ Eyes Only Material;

                 d. any witness during the course of a deposition where counsel questioning the
                    witness reasonably and in good faith believes that questioning the witness
                    regarding the Discovery Material is necessary and appropriate;

                 e. outside photocopying, graphic production services, or litigation support
                    services, as necessary for use in connection with the Bankruptcy Cases;

                 f. court reporters, stenographers, or videographers who record deposition or
                    other testimony in connection with the Bankruptcy Cases;

                 g. the Court, its officers, and clerical staff in any judicial proceeding that may
                    result from the Bankruptcy Cases; and

                 h. any other person or entity with respect to whom the Producing Party may
                    consent in writing.

       12.     Prerequisite To Disclosure Of Designated Material: Before any person or

organization identified in Paragraph 11(a) hereof (other than outside counsel who have already

signed this Protective Order) is given access to Designated Material, such person or their


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representative shall be provided with a copy of this Protective Order and shall execute a

Declaration, in the form provided as Exhibit A hereto. Such executed Declarations shall not be

subject to disclosure under the Federal Rules or the Bankruptcy Rules unless a showing of good

cause is made and the Court so orders.

       13.     Sealing Of Designated Material Filed With Or Submitted To Court: The

Court’s approval and entry of this Protective Order shall constitute authority for the Parties to file

Designated Material under seal without the necessity of filing a separate motion under Local Rule

9037-1. Parties filing Designated Material under seal pursuant to this Protective Order shall

reference this Protective Order in the pleading accompanying such documents. Designated

Material may only be filed with this Court if such filing is made under seal. Before or

contemporaneously with filing documents with the Court that contain Confidential or

Professionals’ Eyes Only Material, the filing party must notify the Producing Party of the filing.

Where possible, however, only those portions of the filings with the Court that disclose Designated

Material shall be filed under seal. Parties filing documents under seal shall to the extent feasible

also file redacted documents simultaneously. This paragraph is without prejudice to the right of

any Party to move upon notice to the applicable Party to unseal any papers filed under seal. Except

as otherwise ordered by the Court or agreed to by the Producing Party, all Designated Material

filed with the Court, and all portions of pleadings, motions or other papers filed with the Court that

disclose Designated Material, shall be filed under seal in accordance with the Federal Rules, the

Bankruptcy Rules, and the Local Rules.

       14.     Use Of Discovery Material In Open Court: The limitations on disclosure in this

Protective Order shall not apply to any Discovery Material offered or otherwise used by any Party

at trial or any hearing held in open court except as provided in this paragraph. As part of any



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pretrial conference or any meet and confer regarding the use of exhibits in any evidentiary hearing,

and where practicable, at least 24 hours prior to the deadline for filing any witness and exhibit lists

with the Court of any Designated Material for use at trial or any hearing to be held in open court,

counsel for any Party who desires to offer or use such Designated Material (the “Offering Party”)

shall meet and confer in good faith with the Producing Party together with any other Parties who

have expressed interest in participating in such meet and confer to discuss ways that the material

may be offered or otherwise used by any party given the subject designations, in accordance with

the provisions of the Bankruptcy Code and Bankruptcy Rules. If the Offering Party and the

Producing Party cannot reach an agreement concerning the treatment of such Designated Material,

the Offering Party shall file such Designated Material under seal, without the necessity of filing a

separate motion under Local Rule 9037-1, until the Court can resolve the dispute.

                                          DEPOSITIONS

       15.     Deposition Testimony - Manner Of Designation: In the case of depositions, if

counsel for a Party or Non-Party believes that a portion of the testimony given at a deposition

should be Designated Material of such Party or Non-Party, such testimony may be designated as

appropriate by:

                  a. Stating so orally on the record and requesting that the relevant portion(s) of
                     testimony is so designated; or

                  b. (b) Providing written notice within seven (7) days of the Party’s or Non-
                     Party’s receipt of the final transcript from the court reporter that the relevant
                     portion(s) of such transcript or videotape of a deposition thereof is so
                     designated, except in the event that a hearing on related issues is scheduled to
                     occur within seven (7) days, in which case the foregoing seven (7) day period
                     will be reduced to three (3) business days. Such designation and notice shall
                     be made in writing to the court reporter, with copies to all other counsel,
                     identifying the portion(s) of the transcript that is so designated, and directing
                     the court reporter to treat the transcript as provided in Paragraph 19 below.
                     Until expiration of the aforesaid seven (7) day or three (3) business day
                     period, as applicable, following receipt of the transcript by the Parties or Non-
                     Parties, all deposition transcripts and videotapes shall be considered and

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                      treated as Professionals’ Eyes Only unless otherwise agreed on the record at
                      the deposition.

        16.     Designated Material Used as Exhibits During Depositions: Nothing in

Paragraph 15 shall apply to or affect the confidentiality designations on Discovery Material entered

as exhibits at depositions.

        17.     Witness Review of Deposition Testimony: Nothing in Paragraph 15 hereof shall

preclude the witness from reviewing his or her deposition transcript.

        18.     Presence of Persons During Deposition Testimony: Anyone who is not counsel

to a Party or otherwise permitted access under the terms of this Protective Order to Confidential

Information and/or Professionals’ Eyes Only Material and who wishes to attend a deposition must

become a Party to this Protective Order prior to such deposition. When Designated Material is

elicited during a deposition, persons not entitled to receive such information under the terms of

this Protective Order shall, upon request, be excluded from the portion of the deposition so

designated.

        19.     Responsibilities and Obligations of Court Reporters: In the event that testimony

is designated as Confidential or Professionals’ Eyes Only, the court reporter, who shall first have

agreed to abide by the terms of this paragraph, shall be instructed to include on the cover page of

each such transcript the legend, “This transcript portion contains information subject to a

Protective Order and shall be used only in accordance therewith,” and each page of the transcript

shall include the legend “Confidential” or “Professionals’ Eyes Only,” as appropriate. If the

deposition is videotaped, the videotape shall also be subject to the same level of confidentiality as

the transcript and include the legend “Confidential” or “Professionals’ Eyes Only,” as appropriate,

if any portion of the transcript itself is so designated.




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                                   GENERAL PROVISIONS

       20.     This Protective Order is a procedural device intended to protect Designated

Material. Nothing in this Protective Order shall affect any Party’s or Non-Party’s rights or

obligations unrelated to the confidentiality of Discovery Material.

       21.     Nothing contained herein shall be deemed a waiver or relinquishment by any Party

or Non-Party of any objection to any Discovery Request, or any right to object to the admissibility

of evidence on any ground, or to seek any further protective order, or to seek relief from the Court

or any other applicable court from any provision of this Protective Order by application on notice.

       22.     Unauthorized Disclosure of Designated Material: In the event of a disclosure by

a Receiving Party of Designated Material to persons or entities not authorized by this Protective

Order to receive such Designated Material, the Receiving Party making the unauthorized

disclosure shall, upon learning of the disclosure: immediately notify the person or entity to whom

the disclosure was made that the disclosure contains Designated Material subject to this Protective

Order; immediately make reasonable efforts to recover the disclosed Designated Material as well

as preclude further review, dissemination, or use by the person or entity to whom the unauthorized

disclosure was made; immediately notify the Producing Party of the unauthorized disclosure; and

immediately take steps to ensure against further review, dissemination, or use thereof.

       23.     Manner of Objecting to Designated Material: If any Receiving Party objects to

the designation of any Designated Material (whether such designation is made on a permanent

basis or temporary basis with respect to deposition testimony), the Receiving Party shall first raise

the objection with the Producing Party in writing, and then confer in good faith to attempt to

resolve any dispute respecting the terms or operation of this Protective Order. If within three (3)

business days after receipt of an objection in writing (which may take the form of an email), the



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Producing Party does not agree to change the designation of the Designated Material, the

Receiving Party may seek relief from the Court by filing a pleading of no more than five (5)

double-spaced pages succinctly describing the basis of its objection (“Objection”) and seeking an

order from the Court altering or removing the designation; if the Producing Party opposes the relief

sought it must, within three (3) business days of receipt by the Court of the Objection, file a

pleading of no more than five (5) double-spaced pages succinctly explaining the basis of its

opposition. The Producing Party shall have the burden to establish that Designated Material is

appropriately designated. Until the Court rules on such an issue, the Designated Material shall

continue to be treated as designated by the Producing Party. Upon a motion, the Court may order

the removal of the Designated Material designation from any Discovery Material so designated

subject to the provisions of this Protective Order. Notwithstanding the foregoing, circumstances

may exist which require a party to seek Court authority to remove the Designated Material

designation of Designated Material on a more expedited basis. In such a circumstance, the moving

party will provide advance notice to the Producing Party.

       24.     Timing of Objections to Designated Material: A Receiving Party shall not be

obliged to challenge the propriety of a Designated Material designation at the time made, and a

failure to do so shall not preclude a subsequent challenge thereto. The failure of any Receiving

Party to challenge the designation by a Producing Party of Discovery Material as Designated

Material during the discovery period shall not be a waiver of that Receiving Party’s right to object

to such designation at an evidentiary hearing or trial.

       25.     Inadvertent Production of Privileged Discovery Material: This paragraph is so

ordered pursuant to Rule 502(d) of the Federal Rules of Evidence. Inadvertent production of any

Discovery Material which a Party later claims in good faith should not have been produced because



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of a privilege, including but not limited to the attorney-client privilege or work product doctrine

(“Inadvertently Produced Privileged Information”), will not by itself constitute a waiver of any

applicable privilege. Within three days after a Producing Party discovers (or upon receipt of notice

from another Party or Non-Party) that it has produced Inadvertently Produced Privileged

Information, the Producing Party shall request the return of such Inadvertently Produced Privileged

Information by identifying in writing the Discovery Material inadvertently produced, and the basis

for seeking to withhold such Discovery Material from production. If a Producing Party requests

the return of Inadvertently Produced Privileged Information pursuant to this paragraph (a

“Clawback Request”), the Receiving Party shall immediately take all commercially reasonable

steps to return or destroy the Inadvertently Produced Privileged Information (and copies thereof)

and (following the later of ten (10) days from receipt of the Clawback Request or the resolution of

a dispute concerning such request) shall take all commercially reasonable steps to sequester or

destroy any work product that incorporates the Inadvertently Produced Privileged Information. If

the Receiving Party disputes the Clawback Request, it must notify the Producing Party of the

dispute and the basis therefore in writing within ten (10) days of receipt of the Clawback Request.

The Parties shall thereafter meet and confer regarding the disputed Clawback Request. If the

Parties cannot resolve their dispute, either Party may seek a determination from the Court. The

Producing Party must preserve all Discovery Material over which privilege or protection is

asserted and, other than in connection with seeking a determination by the Court, the Receiving

Party may not use the document over which the privilege or protection is asserted, any copies, or

any information derived therefrom for any purpose until the dispute is resolved.

       26.     Use of Non-Confidential Material: To the extent that any Party has documents or

information (other than the Cellphone Contents, as described below) that (i) were already in its



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possession at the time the same document or information is received from a Producing Party and

are not subject to any other confidentiality agreement, non-disclosure agreement, or other

confidentiality obligation; (ii) are received or become available to a Party on a non-confidential

basis not in violation of an obligation of confidentiality to any other person; (iii) were

independently developed by such Party without violating its obligations hereunder; or (iv) are

published or become publicly available in a manner that is not in violation of this Protective Order

or of any obligation of confidentiality to any other person, including a Party (collectively “Non-

Confidential Material”), nothing in this Protective Order shall limit a Party’s ability to provide or

produce Non-Confidential Material to other parties in the Bankruptcy Cases or to use Non-

Confidential Material for any purpose, including in a deposition, hearing, briefing, trial or

otherwise in connection with the Bankruptcy Cases, or otherwise. Nothing in this Protective Order

shall affect the obligation of any Receiving Party to comply with any other confidentiality

agreement with, or undertaking to, any other person or Party, including but not limited to, any

confidentiality obligations arising from agreements entered into prior to the Bankruptcy Cases.

       27.     Production of Documents from Pre-Petition Litigation: With respect to the

digital copy of Jones’s cellphone that was produced to the Texas Plaintiffs (the “Cellphone

Contents”), the Parties agree that any alleged waiver of confidentiality that previously may have

occurred shall not apply in the Bankruptcy Cases. Jones may designate the Cellphone Contents in

compliance with this Protective Order and such materials shall thereafter be governed in all

respects in the Bankruptcy Cases by this Protective Order. Jones shall produce the Cellphone

Contents to the Trustee by no later than August 1, 2024. All other discovery material or anything

else produced or provided to any of the Sandy Hook Families in connection with any pre-petition

litigation concerning Jones or FSS may be provided or produced to the Trustee in the form



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provided to the Sandy Hook Families, and without application of additional redactions; provided

however, that the Parties agree to redact personally identifiable information from any filing with

the Court consistent with Southern District of Texas General Order 2004-11. For the avoidance

of doubt, with the exception of the Cellphone Contents, no Party shall have any right under this

Protective Order to designate materials already produced to the Sandy Hook Families in the pre-

petition litigation concerning Jones or FSS as Designated Material.

       28.     Obligations Following Final Determination of the Jones Case: Upon the Final

Determination (as defined herein) of the Jones Case, all Receiving Parties shall, upon the request

of the Producing Party, take all reasonable steps to return to counsel for the respective Producing

Party, or to destroy, all Designated Material, and all copies thereof in the possession of any person,

except that counsel may retain for their records: (i) their work product; (ii) a copy of court filings,

transcripts, deposition/examination recordings, deposition/examination exhibits, and expert

reports; (iii) exhibits introduced at any hearing or trial; and (iv) existing email communications.

A Receiving Party may retain Designated Material that is auto-archived or otherwise backed up

on electronic management and communications systems or servers, or as may be required for

regulatory recordkeeping purposes; provided that such retained Designated Material will continue

to be treated consistent with the provisions of this Protective Order. If a Receiving Party chooses

to take all reasonable steps to destroy, rather than return, documents in accordance with this

paragraph, that Receiving Party shall, if requested by the Producing Party, verify such destruction

in writing to counsel for the Producing Party. For purposes of this Order, “Final Determination”

of the Jones Case shall mean: (i) when the order closing the Jones Case becomes a final order after

(a) the completion and exhaustion of all appeals, rehearings, remands, trials and reviews, if any,

of the Court’s order closing the Jones case, or (b) the expiration of all time limits for the filing of



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or application for all appeals, rehearings, remands, trials, or reviews of the Court’s order closing

the Jones Case, including the time limits for the filing of any motions or applications for extension

of time pursuant to applicable law; or (ii) when the order dismissing the Jones Case becomes a

final order after (a) the completion and exhaustion of all appeals, rehearings, remands, trials and

reviews, if any, of the Court’s order dismissing the Jones Case, or (b) the expiration of all time

limits for the filing of or application for all appeals, rehearings, remands, trials, or reviews of the

Court’s order dismissing the Jones Case, including the time limits for the filing of any motions or

applications for extension of time pursuant to applicable law.

       29.     Continuing Applicability of the Protective Order: The provisions of this Order

shall survive the final resolution of the Jones Case for any retained Designated Material. The final

termination of the Jones Case shall not relieve counsel or other persons obligated hereunder from

their responsibility to maintain the confidentiality of Designated Material pursuant to this Order,

and the Court shall retain exclusive jurisdiction to enforce, modify, or vacate all or any portion of

this Order upon appropriate motion by a party in interest. Notwithstanding the foregoing, the

obligations under this Order shall terminate on the date that is one (1) year after the Final

Determination of the Jones Case; provided, however, that the Discovery Material shall continue to

be treated as Confidential and/or Professionals’ Eyes Only as originally designated.

       30.     Continuing Applicability of Privilege with respect to Official Committee of

Unsecured Creditors: All privileges applicable to the work product of counsel to the Official

Committee of Unsecured Creditors (the “Committee”) in the chapter 11 case of Alexander E. Jones

shall continue and be applicable in every respect to such materials after their transfer to the Trustee

and his counsel, provided however, that the Parties’ rights to challenge such privilege are fully

preserved in the same manner as they would be with respect to the Committee.



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       31.     Amendment of the Protective Order: Upon good cause shown, and on notice to

all Parties, any Party may move to amend the provisions of this Protective Order at any time. The

Parties may also agree by written stipulation by all Parties to amend the provisions of this

Protective Order, subject to Court approval, and shall abide by the terms of the proposed

amendment unless and until the Court orders otherwise.

       32.     Disclosure of Discovery Material in Other Proceedings: Any Receiving Party

that may be subject to a motion or other form of legal process or any regulatory process, or a

demand or request seeking the disclosure of a Producing Party’s Discovery Material: (i) shall

notify the Producing Party within three (3) business days of receipt of such process or demand

(where reasonably practical and unless such notice is prohibited by applicable law, rule, or

regulation) to enable it to have an opportunity to appear and be heard on whether that information

should be disclosed, and (ii) in the absence of a court order preventing such legally required

disclosure, the Receiving Party shall be permitted to disclose only that portion of the information

that is legally required to be disclosed and shall inform in writing any person to whom such

information is so disclosed of the confidential nature of such information.

       33.     Use of Discovery Material by Producing Party: Nothing in this Protective Order

affects the right of any Producing Party to use or disclose its own Discovery Material in any way.

Subject to clause (c) of Paragraph 6, and Paragraph 26, such disclosure will not waive the

protections of this Protective Order and will not entitle other Parties, Non-Parties, or their attorneys

to use or disclose such Discovery material in violation of this Protective Order.

       34.     Obligations of Parties: Nothing herein shall relieve a Party or Non-Party of its

obligations under the Federal Rules, Bankruptcy Rules, Local Rules, or under any future




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stipulations and orders, regarding the production of documents or the making of timely responses

to Discovery Requests.

          35.   Advice of Counsel: Nothing herein shall prevent or otherwise restrict counsel from

rendering advice to their clients in connection with the Bankruptcy Cases and, in the course

thereof, relying on examination of Discovery Material; provided however, that in rendering such

advice and otherwise communicating with such clients, counsel shall not make specific disclosure

of any information in any manner that is inconsistent with the restrictions or procedures set forth

herein.

          36.   Material Non-Public Information: Any Receiving Party acknowledges that by

receiving Designated Materials it may be receiving material non-public information about

companies that issue securities and that the determination as to whether it has received material

non-public information shall be the sole responsibility of such Receiving Party. For the avoidance

of doubt, the Producing Party is under no obligation to designate or mark, or cause to be designated

or marked, any Designated Material that may be determined to constitute material non-public

information.

          37.   Notice: When notice is permitted or required by the provisions hereof, such notice

shall be in writing, directed to the undersigned counsel of the Party to receive such notice, at the

corresponding addresses or email addresses indicated below, or to counsel of any Non-Party

receiving such notice. Notice shall be delivered by first-class mail, Federal Express (or an

equivalent delivery service), hand delivery, or email, and shall be effective upon receipt.




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       38.     Enforcement: The provisions of this Protective Order constitute an order of this

Court and violations of the provisions of this Protective Order are subject to enforcement and the

imposition of legal sanctions in the same manner as any other order of the Court.



THE FOREGOING STIPULATION IS SO ORDERED:

DATED:

                                               HONORABLE CHRISTOPHER M. LOPEZ
                                               UNITED STATES BANKRUPTCY JUDGE




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AGREED IN FORM AND SUBSTANCE:

Dated: August 1, 2024.

 Christopher R. Murray, Chapter 7 Trustee        Alexander E. Jones
 By: /s/ Joshua W. Wolfshohl                     By: /s/ Vickie L. Driver (w/ permission)
 Joshua W. Wolfshohl (TX 24062714)               Vickie L. Driver
 Porter Hedges LLP                               Crowe & Dunlevy PC
 1000 Main Street, 36th Floor                    Counsel to Alexander E. Jones
 Houston, Texas 77002
 Telephone: (713) 226-6000
 Fax: (713) 226-6248
 jwolfshohl@porterhedges.com                     The Texas Sandy Hook Plaintiffs
                                                 By: Avi Moshenberg (w/ permission)
 and
                                                 Avi Moshenberg
                                                 Lawson & Moshebnberg PLLC
 Erin E. Jones (TX 24032478)
                                                 Counsel to the Texas Plaintiffs
 Jones Murray LLP
 602 Sawyer Street, Suite 400
                                                 and
 Houston, Texas 77007
 Telephone: (832) 529-1999
                                                 Jarrod B. Martin
 Fax: (832) 529-3393
                                                 Chamberlain, Hrdlicka, White, Williams &
 erin@jonesmurray.com
                                                 Aughtry, PC
 Proposed Counsel for Christopher R. Murray,
                                                 Bankruptcy Co-Counsel to the Texas Plaintiffs
 Chapter 7 Trustee
                                                 and
 The Connecticut Sandy Hook Plaintiffs
                                                 Jennifer Hardy
 By: /s/ Paul Patterson (w/ permission)          Stuart Lombardi
 Ryan E. Chapple                                 Ciara A. Sisco
 Cain & Skarnulis PLLC                           Willkie Farr & Gallagher LLP
 Bankruptcy Co-Counsel to the Connecticut        Bankruptcy Co-Counsel to the Texas Plaintiffs
 Plaintiffs

 and

 Alinor C. Sterling
 Koskoff Koskoff & Bieder PC
 Counsel to the Connecticut Plaintiffs

 and

 Kyle J. Kimpler
 Paul Paterson
 Paul, Weiss, Rifkind, Wharton & Garrison LLP
 Bankruptcy Co-Counsel to the Connecticut
 Plaintiffs


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                                    EXHIBIT A

   Proposed Declaration of Acknowledgement and Agreement to be Bound by Stipulated
                    Confidentiality Agreement and Protective Order




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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION
 In re:                                            §
                                                   §            Chapter 7
 ALEXANDER E. JONES,                               §
                                                   §            Case No. 22-33553 (CML)
                    Debtor.                        §
                                                   §

DECLARATION OF ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND BY
  STIPULATED CONFIDENTIALITY AGREEMENT AND PROTECTIVE ORDER

       I, ___________________________, the undersigned, declare under penalty of perjury (this

“Declaration”) that:

       1.      I hereby certify and agree that I have read and understand the terms of the Stipulated

Confidentiality Agreement and Protective Order (the “Protective Order”) in the above captioned

cases. All capitalized terms not otherwise defined in this Declaration have the meanings ascribed

to such terms in the Protective Order. I agree to be bound by the terms and conditions of the

Protective Order.

       2.      I understand that I am to retain in confidence all copies of any Discovery Material

received under the Protective Order, and that I will carefully maintain such materials in a manner

consistent with the Protective Order.

       3.      I stipulate to the jurisdiction of this Court solely with respect to the provisions of

the Protective Order.



Signature:

Date: ________________________




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